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Case 2:19-cv-10586-GAD-SDD ECF No. 17 filed 08/09/19 PagelD.128 Page 1of 41

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UNITED STATES DISTRICT COURT EASTERN
DISTRICT OF MICHIGAN

MICHAEL J. HOUSE, CASE NO. 2:19-cv-10586

Plaintiff(s), Civil No. vs. JUDGE GERSHWIN A. DRAIN

MAGISTRATE JUDGE
STEPHANIE DAWKINS DAVIS

GENERAL ELECTRIC CO., ET AL.

LAWERENCE CULP, ET AL., FILED USDC - CLRK DET

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Defendant(s).

 

PLAINTIFF RESPONSE FOR DEFENDANT GENERAL ELECTRIC CO.’S
RULE 12(B)(3), (5), AND (6) MOTION TO DISMISS FOR
IMPROPER VENUE,__ INSUFFICIENT SERVICE OF PROCESS,AND

FAILURE TO STATE A CLAIM UPON WHICH RELIEF MAY BE
GRANTED

 

1.PLANTIFF WILL DISMISS/WITHDRAW THE CLAIMS AGAINST

LAWRENCE CULP CEO ONLY.
Case 2:19-cv-10586-GAD-SDD ECF No. 17 filed 08/09/19 PagelD.129 Page 2 of 41

2.VENUE GENERAL ELECTRIC THEY WERE PROPERLY SERVED
BECAUSE THEY ARE HERE IN COURT DEFENDING IT.

UNDER 28 USC 140.B VENUE IS PROPER BECAUSE,1 GE HAS A
REGULAR AND ESTABLISHED PLACE OF BUSINESS IN EASTERN
MICHIGAN EXHIBIT A, 1-3 ADDRESS 40 WEST E MAIN ST, VAN
BUREN CHARTER TOWNSHIP,MI. 48111, AS WELL AS WESTERN
MICHIGAN EXHIBIT B,1-2 ADDRESS 6120 NORTON CENTER DRIVE,
MUSKEGON,MICHIGAN. 49441.

INFRINGEMENT OF PATENT PROCESS, PATENT US 7,140,873 B1 IS
BEING INFRINGED UPON DAILY AT DETROIT METROPOLITAN
WAYNE COUNTY AIRPORT DTW IN ROMULUS, MICHIGAN, 48242,
WHERE AIRPLANES WITH THESE GE ENGINES, LIKE THE 747-B AND
SIMILAR AIRCRAFT, ARE FLOWN AND OPERATED, MAINTAINED AND
SERVICED WITH GE PARTS AS WELL AS REPLACED IF NEED BE.

3.PLAINTIFF ACKNOWLEDGES THAT HE SENT THE COMPLAINT AND
SUMMONS BY CERTIFIED MAIL TO GE IN MASSACHUSETTS. IT IS
UNDISPUTED THAT GE HAS THE ACTUAL NOTICE OF PLAINTIFF'S
COMPLAINT. UNDER RULE 4(M), THE COURT SHOULD ORDER THE
PLAINTIFF TO COMPLETE SERVICE WITHIN 14 DAYS, EITHER BY
SERVING IT TO DEFENSE COUNSEL OR GE’S MICHIGAN RESIDENT
AGENT EXHIBIT C, 1 OF 1 ADDRESS, 40600 ANN ARBOR RD E STE
201 PLYMOUTH MICHIGAN. 48170.

4. AMEND COMPLAINT. INSTEAD OF DISMISSING CASE, COURT
SHOULD ALLOW PLAINTIFF TO FILE AMENDED COMPLAINT SETTING
MORE DETAILED ALLEGATIONS OF INFRINGEMENT. ATTACHED ARE

EXHIBITS TO THIS RESPONSE; EXHIBIT D, 1-4, SHOWS US PATENT
7,140,873 B1. EXHIBIT D, PART 1 OF 4 EXPLAINS THE ABSTRACT OF
Case 2:19-cv-10586-GAD-SDD ECF No. 17 filed 08/09/19 PagelD.130 Page 3 of 41

THE MULTI ALL FUEL PROCESSOR SYSTEM AND METHOD OF
PRETREATMENT FOR ALL COMBUSTION DEVICES. IT STATES A
PROCESSOR SYSTEM AND METHOD FOR PRE TREATING ALL FUEL
PRIOR TO COMBUSTION OF ANY COMBUSTION DEVICE AND
CONTAINED IN A HIGH PRESSURE CHAMBER AND SUPERHEATED
TO A STATE OF ELEVATED TEMPERATURE AND PRESSURE. THIS
PROCESS WILL ALLOW ALL FUELS TO BURN MORE CLEANLY AND
EFFICIENTLY AND WILL PROMOTE OPTIMUM COMBUSTION. EXHIBIT
D, PART 2 OF 4, BACKGROUND OF INVENTION STATES THIS
PROCESS TO ELIMINATE POLLUTION OF LAND, AIR AND WATER
AND PRESERVE ENERGY. EXHIBIT D PART 3 OF 4, SHOWS THIS
INVENTION PROCESS IS USED FOR ALL FUELS, LIQUID,
GASEOUS,SOLIDS, NATURAL AS WELL AS MAN MADE. EXHIBIT D 4
OF 4 SHOWS THE ACTUAL PATENT CLAIMS 1, ABCD 2, 3, 4, 5, 6, 7
ALL ELEMENTS OF THESE CLAIMS ARE BEING INFRINGED UPON BY
INCREASING THE PRESSURES AND INCREASING TEMPERATURES
OF THESE JET ENGINES TO ACCOMPLISH GREATER EFFICIENCIES
OF THESE JET ENGINES. THESE ACTIONS WERE STEADILY
INCREASED SINCE THE PLAINTIFF INVENTOR MICHAEL J HOUSE

GAVE LETTERS OF SUBMISSIONS TO GENERAL ELECTRIC, DATED
SEPTEMBER, 4,1998, VIA CERTIFIED MAIL. ATTACHED ARE THE
INVENTION SUBMISSION TO GE WITH THE PATENT PENDING, ALSO
KNOWN AS PROVISIONAL PATENT NUMBER 60/ 083,100. INCLUDED
IN THE LETTER OF SUBMISSION WAS AN OFFER FROM MICHAEL J
HOUSE TO A LICENSING AGREEMENT. THIS INFORMATION WAS
USED BY GE TO INFRINGE UPON THIS PATENTED INVENTION.
LISTED EXHIBIT E, 1-7 SHOWING ACCEPTANCE AND ACTUAL
SUBMISSION LETTER TO GE AS WELL AS DOCUMENTED CERTIFIED

RECEIPTS FROM THE US POST OFFICE.

EXHIBIT F, 1-3 PART 3 OF 3 SHOWS, IN WRITING, THAT GE
ENGINEER TED INGLING ADMITS DEVELOPING THE WORLD'S
x
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Case 2:19-cv-10586-GAD-SDD ECF No. 17 filed 08/09/19 PagelD.131 Page 4of 41

LARGEST JET ENGINES BY INCREASING THE PRESSURE RATIO
INSIDE THE ENGINE AND ALSO RAISING THE TEMPERATURE. TO
ACCOMPLISH THIS, THEY HAD TO DEVELOP MATERIALS THAT
WERE ABLE TO WITHSTAND THE INCREASED TEMPERATURES AND
PRESSURES INSIDE THE CORE OF THESE ENGINES. THE USE OF
SUCH MATERIALS ARE DISCUSSED IN THE PATENT, SHOWING
PATENT INFRINGEMENT OF ALL 7 CLAIMS OF US PATENT 7,140,873
B1

PLAINTIFF CAN PLEAD A SPECIFIC AND PLAUSIBLE CLAIM OF
DIRECT INFRINGEMENT AGAINST GE OR IN THE ALTERNATIVE CAN
PLEAD A SPECIFIC CLAIM OF INDUCED INFRINGEMENT,
THEREFORE, INSTEAD OF DISMISSING THE CASE FOR FAILURE TO
STATE A CLAIM, THIS AMENDED COMPLAINT SHOULD DO THAT.

EXHIBITS G 1-7, EXHIBITS H 1-7 AND EXHIBITS | 1-2 SHOW THAT GE
HAS STEADILY INCREASED THE TEMPERATURES AND PRESSURES
INHERENTLY IN THESE JET ENGINES. AS TO THE CLAIMS OF THIS
INVENTION PROCESS, USING THESE CLAIMS AS PERMANENT AND
INSEPARABLE ELEMENTS OF THESE ENGINES, THESE CLAIMS
ATTRIBUTE TO THESE GENERAL ELECTRIC JET ENGINES FOR
GREATER EFFICIENCY AND PERFORMANCE.
Case 2:19-cv-10586-GAD-SDD ECF No.

17 filed 08/09/19 PagelD.132 Page 5of 41

MICHAEL J HOUSE Signature of Filer

Date 8/8/2019

Telephone Number 248-979-0332

Printed Name : MICHAEL J. HOUSE

Street Address 27855 CALIFORNIA DR NW

City, State, Zip CODE, LATHRUP VILLAGE
MICHIGAN 48076
general electric detroit hub adress -

Case 2:19-cv LOSSeCe ASD ECE No. 17 file PPRRY/Wepr.google sere/search lien sfirefui-b4l Ail. q=general+el

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Township, MI 48111

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Digital Day Detroit with Deloitte Digital | GE Digital - GE.com
https:/Awww.ge.com/digital/events/digital-day-detroit-deloitte-digital

venue: GE Digital Thread Hub Auditorium 1 Village Center Drive Van Buren Township, ... Joi
Digital and Deioitte Digital in Detroit on August 8th for Digital ...

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tearn of world-class Digital Technology experts who are ...

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Granholm Lands GE's Decision to. Locate New

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Granholm Lauds GE's Decision to Locate
New Advanced Technology and Training
Center in Michigan

Contact: Bridget Beckman 517-335-4590
June 26, 2009

New advanced manufacturing/software technology center in Van Buren
Twp.expected to create 1,200 high-tech jobs

LANSING - Governor Jennifer M. Granholm today announced that General
Electric Company (NYSE: GE) has chosen Michigan for a new advanced
technology and training center to be located at Visteon Village in Van Buren Twp.
(Wayne County). The company plans to make a significant financial investment
in the new center that is expected to create 1,200 direct jobs and more than 1,600
indirect and spin-off jobs, according to an economic analysis conducted by the
Michigan Economic Development Corporation (MEDC).

Joining the governor in today’s announcement was GE Chairman and CEO Jeff
Immelt, U.S. Senators Carl Levin and Debbie Stabenow, President Obama's
Director of Recovery for Auto Communities and Workers Ed Montgomery, Wayne
County Executive Robert Ficano, Lt. Governor John D. Cherry, Jr., and other state
and local officials.

"No state is working harder than Michigan to diversify its economy and create
new jobs,” Granholm said. "GE's decision to invest and grow in Michigan
demonstrates that we have the high-tech workforce and competitive business
climate necessary for global giants like GE to thrive in the 21st century."

The center will focus on the development of advanced manufacturing technology
and software and information technology and will consolidate GE's experts in
software development, data architecture, networking, business intelligence and
program management. They will develop software to support GE's business
operations for several advanced technologies. The site also will serve as a training
hub for GE information technology professionals.

"To lead in manufacturing, grow our exports and create high-value jobs in the
U.S., we must invest in technology and in people," GE Chairman and CEO Jeff
Immelt said. “The scientists, engineers and technologists that will work and learn
at this center will help GE develop innovative new software, processes and
technologies to make our manufacturing businesses even more productive and
competitive. Michigan is a great location for a technology center because of its
world-class engineering, technical talent and public officials who understand that
investing now will create tomorrow's leading positions in information technology,
clean energy and transportation.”

GE also will establish a research and development center at the site that will be

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part of GE's Global Research network. It will house scientists and engineers who
will develop next generation manufacturing technologies for GE's leading aircraft
engines, gas turbines, renewable energy and other high technology products.

Such work will include development of composites, machining, inspection,
casting and coating technologies for GE's Aviation and Energy businesses.

“With operations throughout the world, GE could have located this project in any
number of states or countries," MEDC President and CEO Greg Main said. "The
decision to invest and grow in Michigan puts us in a very elite class of business
locations that can attract this kind of high-tech project."

Based on the MEDC's recommendation, the Michigan Economic Growth
Authority (MEGA) board today approved a state tax credit valued at $73.9 million
over 12 years to help win the project over competing sites in other states. Wayne
County and Van Buren Township worked closely with the MEDC to win GE's
investment, and both have committed to support the project.

The center is expected to open later this year. Software and IT staff will be located
in existing office space at the site. GE expects to construct a 100,000-square-foot
research center on the site to house its research and development activities.

About GE

GE (NYSE: GE) is a diversified global infrastructure, finance and media company
that is built to meet essential world needs. From energy, water, transportation
and health to access to money and information, GE serves customers in more
than 100 countries and employs more than 300,000 people worldwide. GE is
Imagination at Work. For more information, visit the company's Web site at

http://www.ge.com.
About GE Global Research

GE Global Research is one of the world's most diversified industrial research labs,
providing innovative technology for all GE's businesses. Global Research has
been the cornerstone of GE technology for more than 100 years, developing
breakthrough innovations in areas such as medical imaging, energy generation
technology, jet engines and lighting. GE Global Research is headquartered in
Niskayuna, New York, and has facilities in Bangalore, India, Shanghai, China, and
Munich, Germany. Visit GE Global Research at www.ge.com/research.

About MEDC
MEDC, a partnership between the state and local communities, promotes smart
economic growth by developing strategies and providing services to create and

retain good jobs and a high quality of life. For more information on the MEDC's
initiatives and programs, visit www.TheMEDC.org.

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, EXHIBIT B Pans \ ee Oo
GE Aviation Opens New Brilliant Factory

Muskegon, MI | May 1, 2017 - GE Aviation celebrated in Muskegon today the
grand opening of its $14.5 million Brilliant Factory - an investment that will
stimulate economic growth in the region and where GE is using data and analytics
to run its plants more efficiently.

For the event, John Bowman, general manager, Supply Chain for GE Aviation
joined Senator Debbie Stabenow, State Senator Goeff Hansen, State
Representatives Terry Sabo and Holly Hughes, the Honorable Gary Nelund,
Mayor of Norton Shores, The Honorable Steve Gawron, Mayor of Muskegon,
Jennifer Nelson, executive vice president Business Development for the Michigan
Economic Development Corporation and local officials.

"The new facility in Muskegon is the first of several GE Brilliant Factories being
built throughout the world where machine downtime has been reduced to less
than 1%," said John Bowman.

The new 35,000-square-foot facility will manufacture parts for the GEgo engine
and will perform development work for new programs as needed. The GEgo on
the Boeing 777 is the world's most powerful jet engine with about 2,500 engines in
service and more than 67 million flight hours.

"This state-of-the-art GE Aviation facility is creating new advanced
manufacturing jobs and supporting our local economy," said Senator Stabenow.
"It's exciting to see Muskegon County and Norton Shores leading the way in
making components for GE's most powerful jet engine."

"GE's brilliant factories combine the newest technologies, from advanced
analytics to 3D printing to collaborative robots that work side-by-side with
people," added Bowman. "The facility represents an investment in advanced
manufacturing -- our workforce is constantly adapting and updating their skills
for the jobs of tomorrow."

The new facility located at 6120 Norton Center Drive, Muskegon, expands GE
Aviation's foot print in Muskegon to about 220,000 square feet total including
three buildings (the new facility in Norton Shores, along with existing
manufacturing in Norton Shores and Muskegon).

"We are proud of our association with GE Aviation and the GE Aviation-
Muskegon team," said Jen Nelson, executive vice president, Michigan Economic
Development Corporation. "We are also quite proud of helping to foster an
environment that supports growth in the aerospace field, putting us among the
most attractive and competitive aerospace manufacturing states in the nation. GE
Aviation's significant investment and job-creation commitment are encouraging
signs of the future economic success of Muskegon and the state of Michigan."

GE has already hired nearly 90 new employees toward a goal of 100 at this
advanced manufacturing facility, bringing the total to almost 800 employees

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Bowman continued, "Muskegon is leading the way for GE's transformation in the
way we use big data to run our plants more efficiently and effectively." The idea
behind the Brilliant Factory is to link design, engineering, manufacturing, supply
chain, distribution and services into one intelligent system. The system collects
and analyzes data from all these disciplines to make factories smarter, combining
things like sensor enablement, digital design, and factory and supply chain
optimization to improve quality, throughput and yield.

across the three buildings.

By equipping machines with sensors and analyzing the data in real time, GE can
determine when a machine might break well before it fails. Sensor-enabled
manufacturing lines feed data to GE's cloud-based Predix platform. This has
helped reduce unplanned downtime on the shop floor by up to 20 percent and has
improved overall product reliability and cost. In addition to advanced processes
and tools, there is also a digital thread running through the factory, both
horizontally across the company and vertically throughout the value chain, which
provides an integrated view of a product throughout the manufacturing lifecycle.
Watch a video on GE's brilliant factories here.

GE announced plans to expand in Muskegon in 2016. The Michigan Economic
Development Corporation encouraged this expansion by providing a grant to GE
for $800,000. The City of Norton Shores also provided a 50% property tax
abatement to GE for a 12-year period.

GE is the world's Digital Industrial Company, transforming industry

with software-defined machines and solutions that are connected, responsive and
predictive. GE is organized around a global exchange of knowledge, the "GE
Store," where each business shares and accesses the same technology, markets,
structure and intellect. Each invention further fuels innovation and application
across our industrial sectors. With people, services, technology and scale, GE
delivers better outcomes for customers by speaking the language of industry.

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Summary for: GENERAL ELECTRIC COMPANY
The name of the FOREIGN PROFIT CORPORATION: GENERAL ELECTRIC COMPANY

 

 

Entity type: FOREIGN PROFIT CORPORATION
Identification Number: 801013556 Old ID Number: 632516

 

 

 

 

[Date of Qualification in Michigan: 12/24/1917

 

| Incorporated under the laws of: the state of New York

Purpose:

 

|Term: Perpetual |

 

[Most Recent Annual Report: 2018 Most Recent Annual Report with Officers & Directors: 2018

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

https://cofs.lara.state.mi.us/Corp Web/CorpSearch/CorpSummary .aspx?ID=801013556&SE...

 

The name and address of the Resident Agent:

Resident Agent Name: THE CORPORATION COMPANY

Street Address: 40600 ANN ARBOR RD E STE 201

Apt/Suite/Other:

City: PLYMOUTH State: MI Zip Code: 48170

Registered Office Mailing address:

P.Q. Box or Street Address:

Apt/Suite/Other:

City: State: Zip Code:

The Officers and Directors of the Corporation:

Title Name Address

PRESIDENT JOHN L FLANNERY 41 FARNSWORTH STREET BOSTON, MA 02210 USA

TREASURER DANIEL C JANKI 901 MAIN AVENUE NORWALK, CT 06851 USA

SECRETARY MICHAEL HOLSTON 41 FARNSWORTH STREET BOSTON, MA 02210 USA

DIRECTOR JOHN ] BRENNAN 100 VANGUARD BLVD MALVERN, PA 19355 USA

DIRECTOR EDWARD P GARDEN 280 PARK AVE NEW YORK, NY 10017 USA

DIRECTOR RISA LAVIZZO-MOUREY 1301 BLOCKLEY HALL 423 GUARDIAN DRIVE
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DIRECTOR W GEOFFREY BEATTIE 17 PRINCE ARTHUR AVE, 3RD FLOOR TORONTO, ON
M5R1B2 CAN

 

 

 

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EXHIBIT D, Pars \ of &

United States Patent

House

MULTI ALL FUEL PROCESSOR SYSTEM
AND METHOD OF PRETREATMENT FOR
ALL COMBUSTION DEVICES
Inventor: Michael J. House. 16181 Softwater Lk
Br, Linden. MI (US) 48451
Assignee: Michael . House. Linden, Ml (US)
Notice: Subject to any disclaimer. the term of this
patent is extended or adjusted under 35
U.S.C. 154(b) by 0 days.
Appl. No.: 09/259.593
Viled: Mar. I, 1999
Int. CL
F23N [ANd (2006.01)
US. Ch ee SHAE: BBA: 219/628:
123/557
Field of Classification Seareb oo... 431/208.
43 VTE. 12. $1, 36: 219/628. 629, 635, 202.
219/205: 123/857, 558, 549
See application file for complete search history.
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(10) Patent No.:
(45) Date of Patent:

US 7,140,873 B1
Nov. 28. 2006

  
  

 

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Primary Examiner--S. Gravini

(57) ABSTRACT

Xv processor system and method for pretreating ALL. FUELS
prior fo combustion of a anv combustion device such as an
engine in Which fuel in a liquid state is contained in a high
pressure chamber and superheated to a state of elevated
lemperature and pressure.super heated fuel is then injected
imto the combustion chamber for burning as demanded by
the combustion device. This process holds true for ALI.
FURLS. Liquids. Gaseous. Pulverized Solids and Solids.
Making it an Ideal UNIVERSAL. self contained process that
can be. adapted to existing needs as well as new needs for
total energy use. This Process will allow ATL FUELS to
burn more cleanly and efficiently and will promote optimum
combustion.

7 Claims, 1 Drawing Sheet

 
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EXHIBIT D Pars Dok &

US 7,140,873 Bl

1
MULTI ALL FUEL PROCESSOR SYSTEM
AND METHOD OF PRETREATMENT FOR
ALL COMBUSTION DEVICES

CROSS-REFERENCE FO RELATED
APPLICATIONS

Not applicable

STATEMENT REGARDING FEDERALLY
SPONSORED RESEARCH OR DEVELOPMENT

Not applicable
REFERENCE TO A MICROFICHE APPENDEX
Not applicable
BACKGROUND OF THE INVENTION

f. Field of the lavention

This invention concerns a new and usetul process that
involves the burning of any combustible fuels: liquid. gas-
eous, and solids: such as gasoline. diesel, kerosene, alcohol.
natural gas. coal. medical waste. hazardous waste. and/or
any fuel medium. to generate mechanical or heat energy.
This new process is useful for any fuel. natural or man made.
etc. Thus. it may increase the efficiency of all fuels. while
reducing emissions of fuels being processed prior to com-
bustion with this new process. thus to eliminate pollution of
land. air. and water. and preserve eneny.

2. Description of the Prior Art

‘The efficiency developed by combustion devices such as
engines. boilers. or any device depends. toa large degree, an
the completeness of combustion for any fuel. Emissions,
also. will increase or decreuse to a great extent to the degree
when complete combustion occurs.

Accordingly. considerable efforts have been exerted
towards improving the efficiency of gasoline fuel in engines
and some other combustion devices, such as boilers. These
other efforis seem to be very fimited in their applications.

Through patent research. | cannot find an invention of this
like. This invention, that I have created. is a very truly
needed and a new and useful process. My invention is
especially unique in the fact that this same new process is
intended for all fuels. My claims are specific and clear cut.
in that. this process is intended for use of all fuels: solid.
quid, and gaseous, which no other invention claims.

The present invention seeks to provide a new process in
such a way as to further enhance combustion of all fuels.
making this a truly universal new process that can be
adapted tolall combustion mediums. new and old.

BRIEF DESCRIPTION OF THE VIEW OF THE
DRAWING

FIG. 1 is a plan view of the device used to carry out the
invention process referred to as “Multi AH Fuel Processor
and Pre-treatment for all Combustion Devices”

DETAILED DESCRIPTION

fa the loflowing detailed description, certain technology

will be employed for the sake of clarity and a particular 6

embodiment described in accordance with the requirements
of 35 USC 122. but to be understood that the same is not

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intended to be limiting. inasmuch as the invention is capable
of taking many forms and variations within the scope of the
appended claims.

Referring to the FIG. 1. the present invention involves a
processing system for super preheating of any fuel prior to
burning in a combustion chamber (48) or a combustion
device (30).

The superheating is carried out in a heavy walled. high
pressure. and high temperature tubular enclosure (10). Fuel
from a storage tank (12) is directed. under pressure. to an
inlet fitting (16) by operation of a pump (14). so as to
maintain the high temperature and high pressure chamber
(26), defined within the enclosure (10), filled with fuels that
are liquids. gaseous. pulverized solids, and solids. Also
provided. is a shut-olf valve (18) and one or more check
valves (26), able to withstand high temperature and high
pressure on the order of several hundred degrees and pounds
per square inch, or unlimited. The pump (14), also. must be
capable of developing such pressures as to enable delivery

>» of all fuels into chamber (26) against the high pressure

developed therein. by superheating.

A tungsten porcelain electrical resistance induction heat-
ing element (22) extends lengthwise within a tubular heater
chamber (24). detined within the enclosure (10). All fuels
are directed into the annular chamber (26) surrounding the
induction heating rod (22) to be heated, thereby. the heater
power source (28). controlled by thermostatic controls (30)
responsive lo a temperature sensor (32) located in chamber
(24).

The wattage of the electrical heater rod (22) should enable
heating of: any fuel. as high as safely possible, liquid fuels.
ahove their boiling point while under pressure: gaseous
fuels. should stay below their auto-ignition point while
under pressure: pulverized solids. will also have auto-igni-
lion points te stay below to eliminate spontaneous combus-
tion: and solid fuels. The rate corresponds to the flow
demand required by the combustion devices (50) using the
super preheating processor system.

A pressure relief valve (34) allows safety pressure relief
toa vent holding tank (36). which can communicate with the
fuel tank (12) via a return druin line (38). A shield, or
insulating panels (not shown) may also optionally be pro-
vided as safety measures.

The processed, super heated, and pressurized fuel in
annular chamber (26) passes out to an outlet fitting (40)
communicating with an opeiclose injector valve (42). con-
trols (44) determining the duration of the open interval for
the demand required by the particular combustion devices.
A controlled quantity of processed. super heated. and super
pressurized. fuel is injected through a spray nozzle (46) into
the combustion chamber (48) of those particular comibustion
devices (50).

Tt will be understood that details of the combustion
devices (50) are not shown. as these may be conventional.
but that suitable air and a pood stoichiometric ratio. ignition.
and fuel will ordinarily be included.

When working with fuels that require high temperatures
and high pressures, the working stress of what materials
used to manulacture this process should take a minimum
«10 to 15 percent of the ultimate strength for salety factors.

I have. through testing and development of different fiels.
liquids, gaseous and solids. created a process that is univer-
sal and capable of processing all fuels because of the
extreme temperatures the process requires: burning of
hydrocarbons and omissions take place only at high tem-
peratures.
.

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In the testing and develapment of this process, I have
developed principles to be followed. not only for safety
factor reasons, but for optimum efficiencies of combustion
for whatever fuel you chose to utilize with this pracess.
Included in Appendix | of this package, shows a photograph
of a test bench that I have created in order to safely open
flame test all fuel prior to use in order to establish three
physical states of matter: solids: liquids: and gaseous. Of
these states. for whatever fuel you choose to use. Limits will
have to be established for operation. melting points. boiling
points. cryogenic points. expansion ritios, fash points.
flammable ranges, LEL. (lower explosive limits), to lean
UEL tupper explosive fimits)}. to rich ignition temperatures
how hot a particular fuel needs to run. auto-ignition tem-
peratures for spontaneous combustion. vapor density. spe-
cific gravity, andor any testing that will establish safe limits
in which any fel can be utilized. Also. the use of an
instrument called a spectrometer can be used to test molecu-
lar structure. weight. formula. and analysis of all fuels prior

to use, in establishing safe guide limits prior to use of any 2

tuels.

Appendix 2 photographs that show an example of kero-
sene fuel ia an open. flame bencli test were performed to
establish these types of limits. Notice the photograph of
open flame test that is very yellow in appearance. This fuel
is an ambient temperature and is not clean. You can see the
presence of free carbons. that cause pollution, by their bright
yellow color. Now, the other photograph shows the inven-
tion process being tested with the same fuel. kerosene, by
unlimitedly super heating this fuel. Only. the visual flame
can be seen to burn much cleaner and efficiently because this
invention process allows for complete combustion to occur,
inhibiting free carbons. emissions. and pollutants. thereby
increasing efficiencies.

Listed. are Methods for Processing the 3 Physical States of
all Fuels:

All fuels will have boiling points and points that are listed
on the previous paragraph above. that you need to know
prior to processing of any fuel used: solids. liquids. and
gaseous. These points will establish safe limits of processing
for that particular fuel belore use on any application.

Liquid Fuels:

Processing with high temperatures and pressures are very
obtainable because the contamment device can be made to
withstand these intemal and external forces. allowing the
liquids to be kept under pressure proportional to tempent-
ture. and kept from boiling while super heated. Because of
lack of oxygen in liquid fuels. the chance of auto-ignitions
of spontaneous combustion is virtually eliminated. Fre-
quently, combustion catculations can be simplified by using
molecular mass (weight) as the basis for calculations. but
calculating and bench testing should be used to establish
guides for the particular fuel af use prior to production use
of this process on any combustion mediums. {¥ liquid
oxygen is added to fuels, auto-ignition temperatures and
pressures should be tested. All fuels should try to stride for
unlimited temperatures and pressures in this process.
Included in Appendix 3 of this package. are examples ot
some liquid fuels tested in atmospheric pressure. showing
the approximate temperature certain fuels can produce.
‘These tentperatures can gain even higher through this pro-
cess while increasing pressure for the optimum combustion
of all fuels.

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iaseous Fuels

Processing with high temperature and pressures are very
obtainable because the containment device can be made to
withstand these internal forces created, but auto-ignition can
occur if mixtures of gases or vapors with air or oxygen will
explode spontaneously if the temperature is sufficiently
high. Auto-ignition temperatures are markedly decreased as
the pressure is raised above atmospheric. Minimum auto-
ignition temperatures and pressures should be established
with safety factors in mind prior to use of any fuel. All fuels
should try to stride for unlimited temperatures and pressures
in this process. Included in Appendix 4 of this package. are
examples of minimum auto-ignition temperatures of fuels in
air or oxygen at atmospheric pressures. These temperatures

s can gain even higher through this process while increasing

pressure for the optimum combustion of all fuels.
Solid Fuels

Processing with high temperatures and pressures are very
obtainable because the containment device used to carry oul
this process cun be made to withstand these interna! and
external forces, allowing for ultimate efficiencies. Solid
fuels are very similar in processing to those of liquid fuels.
Pulverized Solid Fuels

Processing with high temperature and high pressure are
very obtainable because the containment device can be made
lo withstand these internal and external forces created, but
auto-ignition can occur if mixture of gases or vapors with air
of oxygen will explode spontaneously if the temperature is
sufficiently high. Pulverized solid fuels are very similar in
processing to that of gaseous fuels.

Appendix 11 shows physical and chemical properties of
methane and gasoline. This process requires testing of
whatever fuels you choose to process before processing use.
so that safety standard can be established for that applica-
tion.

BRIEF DESCRIPTION OF THE SEVERAL
VIEWS OF THE DRAWINGS AND
PHOTOGRAPHS

The file on this patent contains at least one drawing aad
photograph executed in color. These color drawings and
color photographs are necessary to understand the working
principles of this process. “Multi All Fuel Processor Systent
and Method of Pre-treatment for Combustion Devices”.

Listed, are Appendix, 1 through 12B:

Appendix 1: Test Bench created by inventor. Michael J

House
Appendix 2: Test Bench burning Kerosene
Appendix 3: Liquid fuels tested. approximate temperatures

tucls obtain
Appendix 4: Gaseous fuels aulo-ignition temperatures
Appendix 5: Inventor, Michael J House. holding processor
Appendix 6: Inventor holding actual device used in process
Appendix 7: Color drawings. 7/28/96, to carry out process
Appendix &: Color drawings. 4/26/93. to carry oul process
Appendix 9: Color drawings, 12/17/88, to carry out process
Appendix 10: Color drawings. 12/17/88. fo carry out process
Appendix 11: Physical and cheniical properties for methane

and gasoline
Appendix 12.4: Actual invention process installed on an
automobile engine test vehicle made by inventor, Michael

J Howse
Appendix 121: Actual test vehicle using invention process
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i claim:

i. A process for the pre-treatment of fuels prior to
combustion within a multi-chambered combustion device.
comprising the steps of:

a) super pre-heating a fuel within a main chamber of said
multi-chambered combustion device utilizing an inter-
nal electrical resistance induction element, said element
located in a chamber within said multi-chambered
combustion device thereby shielded from direct contact
with said fuel:

b) selectively increasing the pressure of said temperature-
elevated fuel within said main chamber by controlling
the flow of said fuel moving through said multi-
chambered combustion device:

c} keeping suid elevated temperature constant within said 1

multi-chambered combustion device utilizing said elec-
trical resistance induction element, so as to further
maintain an elevated pressure of said firel: and

d) transferring said temperature-elevated fuel into a com-
bustion chamber, said combustion chamber utilizing an
electrical discharge element for combustion. said com-
bustion chamber in fluid communication with said
main chamber of said multi-chambered combustion
device.

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2. The process of claim I wherein said fuel is selected
from the group consisting of liquid tuel. gaseous fuel. solid
tuel, and finely pulverized solid fuel.

3. The process of claim | wherein said super pre-heating
step (a) is carried out in a metal alloy enclosure cable of
withstanding a high pressure and a high temperature.

4. The process of claim 1 wherein said selectively increas-
ing the pressure step (b). further comprises the steps of:

a) withdrawing said fuel from a storage vessel: and

h) directing said fuel utilizing a pump through an inlet

fitting on said multi-chambered combustion device.

5. The process of claim I wherein said keeping said
elevated temperature constant step (c) is aided by a multi-
tude of check vaives on said multi-chambered combustion
device.

6. The process of claim I wherein said wansferring step
(d) is achteved by a pump capable of performance at a high
pressure and a high temperature.

7. The process of claim 1 wherein a tungsten porcelain
electrical resistance induction heating element is responsible
for said super pre-heating of said fuel.

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[TAG/FIA18/)

Out Of This World: GE Aviation
Engineer Ted Ingling Started
Out As Car Mechanic. Now He
Is Leading The Program
Developing The World’s
Largest Jet Engine

Jul 16, 2018 by Tomas Kellner (https://www. ge.com/reports/author
/200020778/)

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When Ted Ingling was growing up in a small town in Michigan, he
Wanted 60 DE a Cal MECHARIC, But The Olan did TNO OUE, and the
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Out Of This World: GE Aviation Engineer
Ted Ingling Started Out As Car Mechanic.
Now He Is Leading The Program
Developing The World’s Largest Jet Engine
- GE Reports

Jul 16, 2018 by Tomas Kellner

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The fan of the GEoX is more than 11 Jeet in diameter — 134.5 inches. But I ngling

says that a 10 percent fuel improvement compared to its predecessors is “really
the hallmark of the engine.” Image credit: GE Aviation.

GER: Do you use 3D printing just to manufacture parts?

TI: No. It also helps us during the design phase. For example, designing the
combustion system for a jet engine the traditional way can take 18 months, and
vou have to spend money on tooling to cast the prototypes. Imagine trying to
iterate, learn something new, refine your design, test it and iterate again if it takes
months just to build your tooling. We found, quite frankly, that additive
manufacturing is quite powerful, especially in the early phases of development,
where it allows the design team to iterate on concepts much faster.

GER: Is the GE9X using any technology that’s not inside the GE90?

TI: Yes, we are using parts made from a light and heat-resistant material called
ceramic matrix composite. This material is very different from the carbon-fiber
composite we use for the fan blades. It’s one-third the weight of steel, but it also
can withstand temperatures where most metal superalloys grow soft. It took us 30
years to develop the technology at GE Global Research, our corporate labs, and we
pioneered it inside the LEAP, a jet engine built by CFM International, a 50/50
joint venture between GE Aviation and Safran Aircraft Engines. The LEAP is the
best-selling engine in CFM’s history, with orders topping $220 billion. Because of

that program, we now know how to mass-produce parts from the material and

design new parts that take advantage of its properties.

GER: Why does the material matter?

TI: Remember when I told you about how we’re the chasing bigger bypass ratios
to make our engines more efficient? The ceramics allow us to do that by making
the core of the engine smaller.

GER: Rather than making the fan bigger?

TI: Yes. We want the bypass ratio as big as possible, and we can do that by
shrinking the physical size of the core and still producing the necessary power to
drive the fan. We do this by increasing the pressure ratio inside the core, which
allows us to get more energy from a smaller volume. As a result, we get a larger
natural bypass without having to take on the drag and the weight from growing
the fan bigger. Essentially, we shrink the core and make the engine a little smaller
on the inside so the fan doesn’t have to be as big.

GER: This is brilliant, but this miniaturization of the core must involve some
extreme engineering.

TI: Right, this is where the ceramic matrix composites come in. Squeezing the
pressures inside the core also raises the temperature. The ceramics can handle as
much.as 2,400 degrees Fahrenheit and allow us to increase the temperature. We
can turn this increase in temperature into extra performance.

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General Electric GEnx - Wiki

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General Electric GEnx

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The General Electric GEnx ("General Electric Next-
generation") is an advanced dual rotor, axial flow, high-
bypass turbofan jet engine in production by GE Aviation for
the Boeing 787 and 747-8. The GEnx is intended to replace
the CF6 in GE's product line.

Contents

Development

 

Operational history
Design
Applications
Variants
Specifications

See also
References

External links

Development

 

The GEnx and the Rolls-Royce Trent 1000 were selected by
Boeing following a run-off between the three big engine
manufacturers. The GEnx uses some technology from the
GEgo turbofan,'4! including composite fan blades, and the
smaller core featured in earlier variants of the engine. The
engine carries composite technology!5! into the fan case.

Boeing wanted to allow changing between alternative 787

 

General Electric GEnx at the Paris Air Show
2009

Turbofan

Type
Manufacturer

First run

Major applications

Unit cost

Developed from

Developed into

GE Aviation

2006

Boeing 747-8

Boeing 787 Dreamliner
787-8 GEnx-1B: $25.6
mitlion!]

787-9 GEnx-1B: $28.7
million!2]

747-8 GEnx-2B: $22.5
million!$!

General Electric GE90
CFM LEAP

engines within 24 hours, but had not worked it out by 2007.!6] The engine market for the 787 is estimated at

US$40 billion over the next 25 years. A first is the elimination of bleed air systems using high temperature/high

pressure air from the propulsion engines to power aircraft systems such as the starting, air-conditioning and anti-

ice systems. Both engines enable the move towards the More Electric Aircraft, that is, the concept of replacing

previously hydraulic and pneumatic systems with electrical ones to reduce weight, increase efficiency, and reduce

maintenance requirements,

The GEnx was expected to produce thrust from 53,000 to 75,000 Ibf (240 to 330 KN) with first tests commencing
in 2006 and service entry by 2008 (delayed by 787 deliveries). Boeing predicts reduced fuel consumption of up to
20% and significantly quieter engines than current turbofans. A 66,500 Ibf (296 kN) thrust version (GEnx-2B67)

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General Electric GEnx - Wiki

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will be used on the 747-8. Unlike the initial version, 7 the 787, this
version has a traditional bleed air system to power internal pneumatic
and ventilation systems. It will also have a smaller overall diameter
than the initial model to accommodate installation on the 747.

General Electric began initial test runs of the bleedless GEnx variant on
19 March 2006.!7! The first flight with one of these engines took place
on 22 February 2007, using a Boeing 747-100, fitted with one GEnx
engine in the number 2 (inboard left hand side) position.

 

GEnx on 747-8! prototype

Operational history

Introduced in late 2011 on a 747-8 freighter, Cargolux surpassed one million flight hours in early 2017.[8! In the
summer of 2012, three engines suffered Low Pressure Turbine (LPT) failures. One failure was caused by an
assembly problem, which led to inspections of all other engines then in service.!9!

 

During the spring and summer of 2013, GE learned of four 747-8F freighters that suffered icing in their engines at
altitudes of 40,000 feet and above. The most serious incident involved an AirBridgeCargo freighter; on July 31,
while at an altitude of 41,000 feet over China, the flight crew noted two engines surging while a third lost
substantial power. The pilots were able to land the plane safely but the engines were found to have sustained
damage. Among the possible factors cited was "unique convective weather systems' such as unusually large
thunderstorms reaching high altitudes.” Boeing is working with GE on software solutions to the problem.0]
Altitude was restricted until GE changed the software to detect the high-altitude ice crystals and open bleed air
valve doors to eject them before they enter the core.{8!

In March 2014, a GEnx-powered Boeing 787 had its first in-flight shut down in operation when a JAL flight had to
divert to Honolulu after an oil pressure alert, bringing its in-flight shut down rate to 1 per 278,000 hours.) in
January 2016 a Japan Airlines 787 had an inflight shutdown after flying through icing conditions, caused by ice
formed on fan blades and ingested: the blades moved forward slightly and rubbed on the abradable seal in the
casing.'8] In March 2016, the US FAA ordered emergency fixes on the GEnx-1B PIP2.2] The airworthiness
directive affects 43 Boeing 787 Dreamliners in the US.43] Abradable material in the casing in front of the fan
blades was ground to keep them from rubbing when ingesting ice or debris on 330 GEnx PIP-2.!8!

In early 2018, of 1277 orders for the B787, 681 selected the GEnx (53.3%), 420 the Rolls-Royce Trent 1000 (32.9%)
and 176 were undecided (13.8%).14]

Design

The GEnx is derived from the GEgo with a fan diameter of 111.1 in (282 cm) for the 787 and 104.7 in (266 cm) for

 

the 747-8. To reduce weight, it features 18 composite fan blades, a composite fan case and titanium aluminide stage
6 and 7 low-pressure turbine blades. Fuel efficiency is improved by 15% compared to the CF6, the bypass ratio
reaches up to 9.0:1 and the overall pressure ratio up to 58.1:1. It has a 10 stage high-pressure compressor and is
quieter, helped by larger, more efficient fan blades.15]

It stays on wing 20% longer, uses 30% fewer parts to lower maintenance costs and has a contra-rotating

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margin. EX H (B\Y G Poe > of vc .

Fan blades have steel alloy leading edges and the composite fan case

  
  

reduces thermal expansion. To reduce fuel burn, the 23:1 pressure ratio:
high-pressure compressor is based on the GE90-94B, shrouded guide
vanes reduce secondary flows and counter-rotating spools for the
reaction turbines reduce load on guide vanes.|8]

To reduce maintenance cost and increase engine life, spools with lower
parts count are achieved by using blisks in some stages, low blade Fan blades and inlet guide vanes of
counts in other stages and by using fewer stages; internal engine GEnx-2B

temperatures are reduced due to more efficient cooling techniques and
debris extraction within the low-pressure compressor protects the high-
pressure compressor.

Applications

 

= Boeing 747-8
« Boeing 787 Dreamliner

 

Variants eed

Detail of GEnx core

 

Variants were certified by the EASA!9]
"Designation EASA certification date |
GEnx1B = 29March2011
GEnx-2B67 29 March 2011
“GEnx-2B67B 21 October 2071S
(GEne1B/P1 = 3July2012,
GEnx-1B/P2 24 June 2013
GEnx-2B67/P 24 January 2014
GEnx-1B76/P2 17 May 2018

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General Electric GEnx -

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GEnx-1B/2B variants!'9)
. Designation of eee
GEnx-1B54/P2.
" GEnx-1858/P2 |
 GEnx-1B64/P2
~ GEnx-1B67/P2
—GEnx-1B70/P2
_ GEnx-1870/72/P2 :
; GEnx-1B70/75/P2 ,
GEnx-1B74/75/P2 Joc 6 weiner nese
| GEnx-1876/P2 -

~ 305.2 kN (68,600 Ibf) ©
. GEnx-1B76A/P2

GEnx-1 B78/P2
GEnx-1 B75/P2_

~ 250.4 KN (56,300 Ibf) ~

295.8 kN (66,500 Ibf)

- 306.0 KN (68,800 Ibf)

| GEnx-2B67
GEnx-28678/P2 260.2 KN (58,500 Ibf)
| GEnx-2867/P
e e
Specifications

Continuous

Take-off rating
256. 3 kN (87, 400 Ibn)
art, 3 kN (61, 000 Ibf)

298, 0 kN (67, 000 Ibf)
- 273.6 KN (61,500 Ibf) ~ :
308.7 kN (69,400 Ibf)

_ 321.6 KN (72,300 Ibf) -

| 341.2 KN (76,700 Ibf)
349.2 KN (78,500 Ibf) »
- 357.6 kN (80,400 Ibf)

345.2 KN (77,600 Ibf) -

299.8 kN (67,400 Ibf)

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Rear view of a GEnx-1B ona
Jetstar 787-8, showing noise-
reducing chevrons

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General Electric GEnx - Wikipedia
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_Data sheeti?0]

Variant oo - B70, —— a B74/75 — r B76 - : 28675
“Application: pO 7878 oP 787-9 a _787- 10 747- 8
. Fan Diameter 3 - | 411. 1 in (282 om) — oe 104. 7in (266 cm)
Compressor ; 7 Fe Fan 4 ALP 10H HP OB 1 Fan 3 LP 10 HP
Turbine i 2 HP 7 LP — 2 HP 6LP
_ Takeoff thrust 69,800 Ibf (310 KN) 74, 100 lof (330 OkN) 76,100 lbf (339 KN) - 66, 500 Iof (296 kN)
_Takeoft Bypass ratio —— 9. 0 —_ ‘ 8. 8 _ 8. 8 a . 8. 0
~ Tp oPR ae 33 ene bs “54 os a “50. opm “s24 ae
_Takeof airpersec. 2, 559 tb 4, 161 ig) 2 624 tb (1, 190 kg) 2 658 Ib (1, 206 kg) - 2 297 Ib (1, 042 kg)
Flange to flange 184. 7 in (469 cm) : : 169. Ti in (431 cm)
Nominal RPM" | “LP 2,560, HP 11 a7 OS LP 2,836, t HP 11, 377

Dry weight? 43, 562 i 6, 147 Kg) 12, 397 Ib 6, 623 ka)
_ Thrustiweight - 5.15 5.47 5.62 5.36

See also

Related development

 

= General Electric GE90
« General Electric GE9X

Comparable engines

« Engine Alliance GP7000
# Rolls-Royce Trent 1000

Related lists

« List of aircraft engines

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General Electric GEoX

The General Electric GEoX i is a high- bypass turbofan
first ran on ground in April 2016 and first flew on 1 March 13,
2018; it is to power the 777-9's maiden flight in 2019 and
enter service in 2020. Derived from the General Electric
GEgo with a larger fan, advanced materials like CMCs,
higher bypass ratio and compression ratios, it should
improve fuel efficiency by 10% over its predecessor. The
engine has a thrust of 105,000 Ibf (470 kN).

 

GE9X under the wing of the 777X during roll-out

 

Contents in March 2019
Type Turbofan
Development _
Testing Manufacturer GE Aviation
First test engine First run April 2016
Cold weather test Major applications Boeing 777X
Second engine to test
Flight testing Unit cost US$41.4M list price
Design (2016)/?1
Specifications Developed from General Electric GE90
See also
References
Notes

External links

Development

 

In February 2012, GE announced studies on a more efficient derivative, dubbed the GEgX, to power both the -8/9
variants of the new Boeing 777X. It was to feature the same 128 in (325 cm) fan diameter as the GE90-115B with
thrust decreased by 15,800 Ibf (70 kN) to a new rating of 99,500 Ibf (443 KN) per engine.!3! The -8X engine was to
be derated to 88,000 Ibf (390 kN).[4]

In 2013, the diameter of the fan was increased by 3.5 in (9 cm) to 132 in (335 cm).[5] At the time of the 777X launch
in November 2013, its design should be finalised by 2015, the first engine would be tested in 2016, flight testing
should debut in 2017 and certification happen in 2018.[6] In 2014, thrust was increased from 102,000 to
105,000 Ibf (450 to 470 KN) and fan diameter to 133.5 in (339 cm).!7]

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First test engine

The first engine to test (FETT) completed its first test run in April 2016.[8] With 375 cycles and 335 test hours,
validated its architecture (as a system, as opposed to a collection of modules) for aerodynamic performance,
mechanical system verification and aerothermal heating validation.!91

Cold weather test

The GEoX went through icing tests in Winter 2017.0] The FETT was finally used for 50 cold weather test points
such as ground fog or natural icing conditions, minor modifications included tweaking parts using additive
manufacturing for several Pivots, used within a month; icing certification and evaluation will be finished in the

With testing completed to simulate high-altitude conditions, the GEgX should be free of ice crystal icing (core
icing) which was an issue for the GEnx but is now better understood as well as traditional rime ice. The
improvements developed for the GEnx were the variable bypass valve doors: airflow is improved by the way they
open inward into the flow path between the booster and high-pressure compressor, naturally ejecting the ice and
sand to prevent them from entering the core.!9!

Second engine to test

Minor tweaks between FETT and second engine to test (SETT) are pivotal to hit its efficiency goals: in the throat
between the HP turbine outlet into the LP turbine inlet, the turbine's pinch point is altered to set the operating line
of the compressor, turbine and 134.5 in (342 cm) fan. Blades at the back end of the 11-stage HP compressor are just
over 1 in (25 mm) high. The HP compressor front end tip clearance was modified as the compressor was fine-tuned
since initial tests in early 2013. The SETT seems to meet flow function and operability design points. Its testing
started on May 16, 2017, at Peebles, Ohio, 13 months after FETT; it is the first to be built to the finalized production
standard for certification.[9) During extreme test conditions for the FAA 150 hr block test, the variable stator vane
(VSV) actuator lever arms failed and their redesign led to a 3—month delay.) It was joined by four more test
engines by May 2018.22]

Certification campaign

The certification program began in May 2017.!°] Eight other test engines will be involved in the certification
campaign, plus one for ETOPS certification configured with a Boeing nacelle. A core that will run in the Evendale,
Ohio, altitude test cell for aeromechanical and vibratory testing and test engines 003, 004, and 007 are being
assembled to be completed in 2017, with the fourth engine to be ground-tested in the third quarter before flying on
the testbed later in the year from Victorville, California. From early 2018 eight compliance engines plus a pair of
spares will be delivered for the four 777-9 flight-test aircraft.{9] Its type certification is planned for the fourth
quarter of 2018.13] By November 2017, five engines had been test run.[141

The second engine will pass the FAA 150 h block test at its operational limits, running at triple red-line conditions:
maximum fan speed, maximum core speed and maximum exhaust gas temperature. The third engine is in Peebles,
Ohio, while the fifth will travel to Winnipeg for icing tests starting by end of 2017 while three other engines are

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‘ currently under assembly. The initial 777X flight-test engines will be shipped in 2018 for an initial 777-9 flight in
early 2019.5] A quarter of the certification testing was done by May 2018: icing, crosswind, inlet, fan and booster

Flight testing

As it is larger than the GE90, for testing it fits only the 747-400 with
larger main gear struts and bigger tires and not the previous -100 GE
testbed, and the tested engine is tilted 5° more than the original CF6.[13]
Boeing builds a large, specially designed pylon for the testbed.!9!
Suspended on a 19 ft (580 cm) strut, the fourth engine of the program
has been mounted in November to begin flight testing at the end of
2017. The 134 in (340 cm) fan is encased in a 174 in (440 cm) nacelle, dy a es
with 1.5 ft (0.46 m) of ground clearance.!5] It weighs 40,000 Ib (18 t) Propulsion Test Platform
with its custom pylon and wing strengthening, compared to 17,000 Ib 747-400

(7.7 t) for the CF6-80C2s and its pylon.{6!

     

In February 2018, the GE9X's first flight was delayed by problems discovered in the HPC variable stator vanes
(VSV) lever arms. These are to be changed for the production engine, but will not affect its flow. Also a routine A
Check discovered fan-case corrosion and HP turbine airfoils limits on the 747 testbed’s CF6 engines.!7] It first flew
on March 13 with the previous design of the VSV external lever arm.!)8] In early May, the first flight test phase of
two was wrapped up after 18 flights and 110 hours: after checking the aircraft and systems, the GE9X high-altitude

envelope was explored and its cruise performance evaluated, the second phase is scheduled to begin in the third
quarter. 012]

By October 2018, half of the certification was completed, and eight prototypes are used, mostly in Peebles, Ohio: #1
will be stored; the blade-out will be deliberately separated from the hub of #2 at takeoff power; after crosswind
ground testing, #3 will be used for cyclic and load testing of the thrust reverser cascade assembly; the airborne #4
will explore more edges of the flight envelope like low altitudes for certification flight-tests from November through
March; #5 will test unbalanced endurance to check vibration levels, before ETOPS certification; #6 will pass
ingestion tests later in 2018; after LP turbine over-temperature tests, #7 will endure a second icing campaign in
Winnipeg, Manitoba; #8 will be prepared by mid-October for the triple redline FAA 150 h endurance test. Eight
compliance engines, plus two spares, are expected from November in Everett, Washington, to be installed on the
first 777-9, to complete most of its flight tests in 2019 and enter service in 2020.41]

A second phase, of 18 flights, began on 10 December to evaluate the software and hot-and-high performance until
the first quarter of 2019 before its FAA certification the same year. By then, water ingestion, overheating and
crosswinds tests were completed, before blade-out, hailstone, bird ingestion and block or endurance testing. Flight
tests are based in Victorville, California, and stretch to Seattle, Colorado Springs, Colorado, Fairbanks, Alaska and
Yuma, Arizona.!9]

By 4 January 2019, eight test flights and 55h of run time were completed.[2°] At the end of January, the case and
rear turbine frame strut were damaged during the blade out test and affected components are revised. In early
May, the flight test campaign was completed after 320 hours, focused on high-altitude cruise fuel burn. A
compressor anomaly was detected in an engine pre-delivery test while the first engines were installed on the 777X

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prototype. The engines should be modified to a final certifiable configuration standard before the maiden flight,
delayed after the previously expected June 26. The issue is mechanical and not aerodynamic, not affecting
performance or engine configuration, and is at the front of the 11-stage high-pressure compressor. Before
certification, final tests include a full durability block test, replacing the usual “triple redline” test at maximum

temperatures, pressures and speeds, as modern high-bypass ratio engines cannot achieve all maximum conditions
near sea level, [21]

Design

The GE9oX should increase fuel efficiency by 10% over the GEgo0.13] Its 61:1 overall pressure ratio should help
provide a 5% lower thrust specific fuel consumption (TSFC) than the XW. B-97 with maintenance costs comparable
to the GEgo-115B.!6! The initial thrust of 105,000 Ibf (470 KN) will be followed by 102,000 and 93,000 Ibf (450
and 410 kN) derated variants.!!2! GE invested more than $2 billion for its development. Its nacelle is 184 in
(4,700 mm) wide.@)

Most efficiency increase comes from the better propulsion efficiency of the higher-bypass-ratio fan. The bypass
ratio is planned for 10:1.[4! The fan diameter is 134 in (340 cm).(22] It has only 16 blades, whereas the GEgo has 22
and the GEnx has 18. This makes the engine lighter, and allows the low pressure (LP) fan and booster to spin faster
to better match its speed with the LP turbine. The fan blades feature steel leading edges and glass-fibre trailing
edges to better absorb bird impacts with more flexibility than carbon fiber.!2] Fourth generation carbon fiber
composite materials, comprising the bulk of the fan blades, make them lighter, thinner, stronger, and more
efficient.[23] Using a composite fan case will also reduce weight.[24]

The high pressure (HP) compressor is up to 2% more efficient.{*4) As the 129.5 in (329 cm) GEgo fan left little room
to improve the bypass ratio, GE looked for additional efficiency by upping the overall pressure ratio from 40 to 60,
focusing on boosting the high-pressure core's ratio from 19:1 to 27:1 by using 11 compressor stages instead of 9 or
10, and a third-generation, twin-annular pre-swirl (TAPS) combustor instead of the previous dual annular
combustor. Able to endure hotter temperatures, ceramic matrix composites (CMC) are used in two combustor
liners, two nozzles, and the shroud up from the CFM International LEAP stage 2 turbine shroud. CMCs are not
used for the first-stage turbine blades, which have to endure extreme heat and centrifugal forces. These are
improvements planned for the next iteration of engine technology.!25!

The first-stage HP turbine shroud, the first- and second-stage HP turbine nozzles and the inner and outer
combustor linings are made from CMCs, only static components, operating 500 °F (260 °C) hotter than nickel
alloys with some cooling.!!4] CMCs have twice the strength and one-third the weight of metal. The compressor is
designed with 3D aerodynamics and its first five stages are blisks, combined bladed-disk. The combustor is lean
burning for greater efficiency and 30% NOx margin to CAEP/8. The compressor and high pressure turbine are
made from powdered metal. The low-pressure turbine airfoils made of titanium aluminide (TiAl) are stronger,
lighter, and more durable than nickel-based parts.!22] 3D printing is used to manufacture parts that would
otherwise be impossible to make using traditional manufacturing processes.[23] CMCs need 20% less cooling. [61

Specifications

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: _ Application : i oe _TI-SITTT- 8 (future),

7 Type | ‘Dual rotor, axial flow, high bypass turbofan |

_ Compressor | 1 fan, 3-stage LP 11-stage HP |
Turbine : _ 2-stage_ HP, 6- “Stage LP a
Fan diameter Po 134 in (340 em) —

_ Takeoff f thrust oe 105,00 000 Ibf (470 kN)
bypass ratio — ee . 1
“Pressure rao co ie eee ‘e01 vee
| Weight 40, 000 tb (18 b, ‘complete with test st pylont"®)

See also

Related development

= General Electric GE90
= General Electric GEnx

Comparable engines

« Rolls-Royce Trent XWB
* Rolls-Royce Advance (Future)

Related lists

= List of aircraft engines

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GE Aviation, the GE9X engine \
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O% lower specific fuel
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GE90-115B

5% better SFC
than any other twin-aisle engine in
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